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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO. 17-1230 JB/LF                           DATE: 7/3/18

TITLE: Lee v. University of New Mexico et al

COURTROOM CLERK: C. Bevel                        COURT REPORTER: J. Bean

COURT IN SESSION: 8:34AM-10:02AM                 TOTAL TIME: 3 HR 21 MIN
                  10:19AM/10:19AM
                  2:42PM-3:42PM
                  4:02PM-4:22PM

TYPE OF PROCEEDING: 7 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
(Plaintiff's Title IX Claim), 8 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
(Plaintiff's Contract Claims) and 9 MOTION TO DISMISS FOR FAILURE TO STATE A
CLAIM (Plaintiff's Due Process Claims)

COURT RULING: Tile IX Claim will be dismissed; Court inclined to dismiss federal claims and
remand case back to State Court to resolve State Court claims.

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
Arlyn Crow, Alana De Young                       Quentin Smith
PROCEEDINGS:

8:34am Court in session, counsel enter appearances.
8:35am Court addresses Mr. Crow regarding responds to Motion for Summary Judgment, Mr.
            Crow does not contest it, Court will dismiss Title IX.
8:36am Mr. Smith argues in support of Motion to Dismiss Doc. 8.
8:43am Mr. Crow responds.
8:48am Mr. Smith continues arguments, moves forward on argument for Due Process Claims.
9:19am Mr. Crow responds.
9:49am Mr. Smith responds.
10:02am Court in recess.
10:19am Court in session, counsel to return at 2:00 pm to resume arguments.
10:19am Court in recess.
2:42pm Court in session.

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2:42pm Mr. Smith addresses Court with arguments on notice and due process claims.
2:53pm Mr. Crow responds, regarding notice and due process claims.
3:10pm Mr. Smith responds.
3:21pm Mr. Crow responds, addresses state claims.
3:24pm Court will need to further consider motions does think clearly established will likely
            fail. Inclined to pull out and dismiss federal claims, remand back to State court for state
            court claims.
3:26pm Mr. Smith addresses court regarding contract claims.
3:42pm Court in recess.
4:02pm Court in session.
4:02pm Mr. Crow responds to contract claims.
4:11pm Mr. Smith argues final points on motion.
4:17pm Court is skeptical that claims will survive, even if they survive sovereign immunity.
4:20pm Counsel have nothing further.
4:21pm Court’s goal to have a decision by the end of September.
4:22pm Court in recess.




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